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 1   ROB BONTA
     Attorney General of California
 2   LAURA L. FAER
     Acting Senior Assistant Attorney General
 3   MARISSA MALOUFF
     JAMES E. STANLEY
 4   Supervising Deputy Attorneys General
     LUKE FREEDMAN
 5   ROBIN GOLDFADEN
     BRENDAN M. HAMME
 6   LORRAINE LOPEZ
     KENDAL MICKLETHWAITE
 7   MEGAN RICHARDS
     NICHOLAS ESPÍRITU
 8   Deputy Attorneys General
      1515 Clay St.
 9    Oakland, CA 94612
      Telephone: (510) 879-3908
10    E-mail: nicholas.espiritu@doj.ca.gov
     Attorneys for Plaintiffs
11

12                          IN THE UNITED STATES DISTRICT COURT

13                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

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16
     GAVIN NEWSOM, IN HIS OFFICIAL
17   CAPACITY AS GOVERNOR OF THE STATE OF
     CALIFORNIA; STATE OF CALIFORNIA,                   NO. 3:25-cv-04870-CRB
18
                                         Plaintiffs, [PROPOSED] ORDER GRANTING
19                                                   TEMPORARY RESTRAINING ORDER
                   v.                                AND ORDER TO SHOW CAUSE WHY A
20                                                   PRELIMINARY INJUNCTION SHOULD
                                                     NOT ISSUE
21   DONALD TRUMP, IN HIS OFFICIAL
     CAPACITY AS PRESIDENT OF THE UNITED
22   STATES; PETE HEGSETH, IN HIS OFFICIAL
     CAPACITY AS SECRETARY OF THE
23   DEPARTMENT OF DEFENSE; U.S.
     DEPARTMENT OF DEFENSE,
24
                                      Defendants.
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                           [PROPOSED] TEMPORARY RESTRAINING ORDER & ORDER TO SHOW CAUSE
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 1                                          [PROPOSED] ORDER

 2          Plaintiffs’ application for a temporary restraining order (“TRO”) and order to show cause

 3   came before this Court for consideration on June 10, 2025. Upon consideration, and for good

 4   cause shown, IT IS HEREBY ORDERED that the TRO is GRANTED.

 5                               TEMPORARY RESTRAINING ORDER

 6          The Court finds that Plaintiffs have demonstrated a likelihood of success on the merits of

 7   their claims, a likelihood of irreparable harm in the absence of temporary relief, that the balance

 8   of equities tips in their favor, and that a temporary restraining order is in the public interest. In

 9   support of this Order, the Court makes the following findings:

10          1.      Since Fiscal Year 2024, U.S. Immigration and Customs Enforcement (ICE) has

11   made 4,741 arrests in the Los Angeles Area of Responsibility. Mass episodes of civil unrest

12   related to those arrests in 2024 were nominal. On June 6, 2025, ICE conducted enforcement

13   actions within the Los Angeles Area of Responsibility, including the execution of search warrants

14   at various locations. During these operations, ICE and its agents reportedly took actions that

15   inflamed tensions and provoked protest. In all, the Department of Homeland Security reported

16   that its enforcement activities on Friday, June 6, resulted in the arrest of approximately 44

17   individuals and 70–80 people detained in total, further showing ICE could execute its functions.

18          2.      On June 7, 2025, President Donald Trump issued a memorandum “call[ing] into

19   Federal service members and units of the National Guard.”

20          3.      On June 7, 2025, Secretary of Defense Pete Hegseth issued a memorandum to the

21   Adjutant General of California ordering 2,000 California National Guard soldiers into federal

22   service.

23          4.      On June 9, 2025, Secretary Hegseth issued another memorandum ordering an

24   additional 2,000 California National Guard members into federal service.

25          5.      Defendants’ orders were issued over the express objection of the Governor of the

26   State of California, despite 10 U.S.C. § 12406’s requirement that all orders made pursuant to that

27   provision “shall be issued through the governors of the States.”

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                                                        2
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 1           6.     As a result, 2,000 California National Guard soldiers have been moved to federal

 2   command, and an additional 2,000 will be moved imminently, for a total of 4,000 federalized

 3   National Guard soldiers available to be deployed by the federal government in the Los Angeles

 4   area.

 5           7.     Also on June 9, 2025, Secretary Hegseth mobilized 700 active-duty members of

 6   the United States Marine Corps from Camp Pendleton and deployed them to the Los Angeles

 7   area. Together with the 4,000 federalized National Guard soldiers, these constitute the “Title 10

 8   Force” for purposes of this Order.

 9           8.     To date, Secretary Hegseth has deployed only approximately 325 of the 2,000

10   National Guard soldiers initially mobilized under federal authority, with a mission limited to

11   protecting federal real property and a presence on or immediately adjacent to federal real

12   property.

13           9.     Plaintiffs are likely to prevail on their claims that Defendants’ actions are ultra

14   vires, including because they violate 10 U.S.C. § 12406 and the Posse Comitatus Act. Under

15   section 12406, the President lacks the authority to use California’s National Guard soldiers to aid

16   federal agents with enforcing federal law. Section 12406 permits the President to call a state’s

17   National Guard soldiers into service in only three circumstances: (1) the United States is invaded

18   or is in danger of invasion by a foreign nation; (2) there is a rebellion or danger of a rebellion

19   against the authority of the Government of the United States; or (3) the President is unable to

20   execute the laws of the United States with regular forces. None of these three circumstances

21   exists here. In his June 7 memorandum, the President purported to invoke the second and third

22   circumstance, stating that “[t]o the extent protests or acts of violence directly inhibit the execution

23   of the laws, they constitute a form of rebellion against the authority of the Government of the

24   United States.” However, Plaintiffs have shown that the protests in Los Angeles fall far short of a

25   rebellion, which is generally understood to connote “an organized attempt to change the

26   government or leader of a country, [usually] through violence,” something much beyond mere

27   protest or sporadic acts of disobedience and violence. Rebellion, Black’s Law Dictionary (12th

28   ed. 2024). Nor do these protests prevent the President or ICE from executing the laws of the
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 1   United States. Plaintiffs’ evidence shows that ICE has continued to execute its duties and that

 2   National Guard soldiers are unnecessary to aid with the enforcement of federal law.

 3          10.     Plaintiffs are also likely to prevail on their claims because section 12406 mandates

 4   that “[o]rders for these purposes shall be issued through the governors of the States.” The

 5   President’s order was not issued through the Governor of the State of California.

 6          11.     Plaintiffs are also likely to prevail on their claim that the use of the Title 10 Force

 7   is likely to result in violations of the Posse Comitatus Act, 18 U.S.C. § 1385, because these forces

 8   are likely to engage in activity that will ‘amount to direct active involvement in the execution of

 9   the laws[.]” United States v. Dreyer, 804 F.3d 1266, 1275 (9th Cir. 2015).

10          12.     Plaintiffs are also likely to prevail on their claim that the use of the Title 10 Force

11   violates the Tenth Amendment because it intrudes on the State of California’s sovereign powers,

12   including by taking command of the State’s own resources and depriving the State of its right to

13   control and have available its National Guard.

14          13.     Plaintiffs are likely to suffer irreparable harm in the absence of temporary relief.

15   First, violations of state sovereignty are irreparable harms. Second, federalization of the

16   California National Guard’s soldiers impairs the Guard’s ability to perform critical functions of

17   the State of California, such as responding to natural disasters and wildfires when California is in

18   peak wildfire season. And third, Plaintiffs have shown that the presence of the Title 10 Force on

19   the streets of Los Angeles, including their actual or perceived support and aid in the execution of

20   ICE duties has created significant civil unrest and is likely to result in increased civil unrest in the

21   future. Specifically, after National Guard soldiers were deployed to Los Angeles, their presence

22   became the focus of protests and led to civil unrest, requiring intervention by state and local law

23   enforcement to protect the National Guard soldiers. Further escalation of military force will create

24   a significant and imminent risk of harm to Los Angeles by escalating tensions and increasing the

25   risk of potential hostilities that may lead to further violence against Californians or any violence

26   against the Title 10 Force or federal agents.

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 1          14.     The balance of equities and public interest favor injunctive relief, particularly

 2   considering the imminent risk of violence in Los Angeles if the Title 10 Force is deployed in

 3   excess of the law.

 4          Accordingly, it is hereby:

 5          ORDERED that Defendants Secretary of Defense Pete Hegseth and the United States

 6   Department of Defense (“DOD Defendants”) are temporarily enjoined from ordering or

 7   deploying the Title 10 Force to enforce or aid federal agents in enforcing federal law or to take

 8   any action beyond those that are required to ensure the protection and safety of federal buildings

 9   and other real property owned or leased by the federal government and federal personnel on such

10   property;

11          ORDERED that DOD Defendants are temporarily enjoined from ordering or permitting

12   the Title 10 Force to execute or assist in the execution of any federal agent or officer’s

13   enforcement of federal law, including but not limited to all law-enforcement functions such as

14   execution of warrants, arrests, searches, checkpoints, or cordons;

15          ORDERED that DOD Defendants are temporarily enjoined from ordering or permitting

16   the Title 10 Force to patrol communities or otherwise engage in general law enforcement

17   activities beyond the immediate vicinity of federal buildings or other real property owned or

18   leased by the federal government.

19          This Order does not prohibit any of the Title 10 Force at issue from providing indirect

20   assistance to federal officials by protecting federal immigration detention facilities and other

21   federal buildings or real property owned or leased by the federal government, or by defending

22   federal officials or employees from threatened physical harm at such buildings or real property.

23          Because Defendants have not shown they are likely to suffer harm as a result of this

24   temporary restraining order, and because this case implicates constitutional rights and the public

25   interest, the Court finds that only a nominal bond is necessary and orders Plaintiffs to post $100

26   within seven (7) days of this order. See Taylor-Failor v. Cnty. of Haw., 90 F. Supp. 3d 1095,

27   1102-03 (D. Haw. 2015) (citing Save Our Sonoran, Inc. v. Flowers, 408 F.3d 1113, 1126 (9th

28   Cir. 2005)).
                                                       5
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 1                                     ORDER TO SHOW CAUSE

 2          Defendants are ordered to show cause before this Court why a preliminary injunction

 3   should not issue enjoining the Title 10 Force from enforcing or aiding in the enforcement of

 4   federal law outside of federal property or the areas immediately surrounding federal property,

 5   including raids, arrests, searches, or any other activity, or conducting patrols beyond federal

 6   property. The hearing on the order to show cause will be held on _____________ at

 7   __________. Plaintiffs’ moving papers shall be filed no later than _____________. Defendants’

 8   opposition papers shall be filed and served on or before _____________. Plaintiffs’ may file a

 9   reply no later than _____________.

10          IT IS SO ORDERED.

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12    Dated:
                                                           HON. CHARLES R. BREYER
13                                                         United States District Judge
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                             [PROPOSED] TEMPORARY RESTRAINING ORDER & ORDER TO SHOW CAUSE
